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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

PHYLLIS SCHLAFLY REVOCABLE                    )
TRUST, et al.,                                )
                                              )
             Plaintiffs,                      )
                                              )
      v.                                      )     No. 4:16 CV 1631 RWS
                                              )
ANNE CORI, et al.,                            )
                                              )
             Defendants.                      )

                           MEMORANDUM AND ORDER

      This matter is before me on Plaintiffs Eagle Forum Education and Legal

Defense Fund and Eagle Trust Fund’s objections to Special Master Order #9 and

Order #10, in which the Special Master recommended granting Defendant Anne

Cori’s motion for discovery sanctions and awarding her attorney fees in the amount

of $87,662.00.

                                 BACKGROUND

      This case concerns the ownership and use of Phyllis Schlafly’s property and

likeness. The dispute currently before me arises out of objections to the Special

Master Orders granting Defendant Cori’s motion for discovery sanctions related to

Phase I discovery in this case and awarding her attorney fees.

      This lawsuit was filed on October 19, 2016. On March 12, 2021, Cori served

Phase I written discovery requests on Plaintiffs. Plaintiffs served their responses on
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April 13, 2021. Cori alleged that the request for production responses (“Phase I RFP

Responses”) were materially deficient because they contained no specific reference

to the documents being jointly produced by Plaintiffs and they referred Cori to more

than 740,652 pages of documents that were produced in a different lawsuit.1

Plaintiffs did not indicate which documents were responsive to which of Cori’s

requests.

       On May 20, 2021, Cori filed a motion to compel Plaintiffs to produce, rather

than refer to, every document that was responsive to Cori’s written discovery and

amend Plaintiffs’ Phase I RFP Responses to sufficiently identify the documents

Plaintiffs had produced.

       On June 9, 2021, the U.S. District Judge John A. Ross2 ordered Plaintiffs to

produce documents relevant to their claims and to indicate which documents were

responsive to which requests. See ECF No. 189 (the “June 9 Discovery Order”). On

August 11, 2021, and September 6, 2021, Plaintiffs produced two supplemental

productions of documents. The parties then filed motions for partial summary

judgment on Phase I issues. Judge Ross granted in part and denied in part the



1
  The documents initially produced by Plaintiffs originated from a Madison County, Illinois
lawsuit by Anne Cori against Ed Martin, John Schlafly, Eagle Trust Fund, and Eagle Forum
Education and Legal Defense Fund. See Cori v. Martin, No. 2016MR000111 (Ill. Cir. Ct. Oct. 20,
2016). Plaintiff Phyllis Schlafly Revocable Trust was never a party to the Madison County case.
2
  This case was originally assigned to U.S. District Judge John A. Ross, who recused himself from
the case on April 26, 2023. The case was then reassigned.
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motions,3 and entered a second amended case management order for Phase II

discovery.

       After Cori served Phase II written discovery on May 27, 2022, Plaintiffs’

counsel informed Cori’s counsel about concerns relating to ESI Protocol and the

completeness of Plaintiffs’ Phase I RFP Responses. On September 26, 2022,

Plaintiffs’ counsel informed Cori that the dataset used for Plaintiffs’ Phase I RFP

Responses was a compilation of two different data sets created by two different law

firms for two different lawsuits.

       On October 7, 2022, Cori filed a motion for dismissal as a discovery sanction

pursuant to Rule 37(b)(2) of the Federal Rules of Civil Procedure. See ECF No. 257.

The motion alleged that Plaintiffs did not properly collect or search for responsive

documents and, as a result, willfully violated the June 9 Discovery Order and caused

Cori to suffer prejudice. See Bergstrom v. Frascone, 744 F.3d 571, 576 (8th Cir.

2014) (citation omitted) (explaining that dismissal is an available discovery sanction




3
  Cori’s motion sought partial summary judgment on Plaintiffs’ trade secret claims (Counts I and
IV), infringement of mark claims (Counts III, V, and IX), and the claim related to Phyllis Schlafly’s
publicity rights (Count VIII). The Court granted partial summary judgment in favor of Cori on
Counts I, V, VIII, and IX; It denied partial summary judgment on Counts III and IV. Cori also
joined Eagle Forum’s motion for partial summary judgment on the ownership of the Schlafly
Database (a compilation of information regarding donors and supporters of Phyllis Schlafly). The
Court denied the motion due to the existence of material questions of fact. In addition, the Court
denied a motion by Plaintiffs seeking rulings on seven factual issues. See ECF No. 239.


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if there is “(1) an order compelling discovery, (2) a willful violation of the order, and

(3) prejudice to the other party”).

      On December 20, 2022, Judge Ross appointed the Honorable Mark D. Siegel

as Special Master to resolve the parties’ outstanding discovery issues, and on May

3, 2023, I referred Cori’s motion for sanctions to the Special Master. The parties

then filed supplementary briefings on the discovery issue after it became clear that

the dataset had not been tailored to respond to the document requests in this case.

Instead, the dataset was filtered through search terms targeted to capture relevant

documents from a different lawsuit.

      On March 20, 2024, the Special Master entered Special Master Order #9,

which granted Cori’s motion for sanctions. The Special Master made a specific

finding that Plaintiffs willfully violated the June 9 Discovery Order and that Cori

suffered prejudice as a result. Rather than granting Cori’s requested relief of

dismissal, the Special Master awarded fees to Cori for (1) her reasonable attorney

fees incurred in connection with all Phase I discovery and all Phase I dispositive

motions prior to April 25, 2023; and (2) her reasonable attorney fees incurred in

connection with briefing and presenting Defendant’s motion for sanctions.

      Cori then submitted a motion claiming she is entitled $98,800.00 in attorney

fees pursuant to Special Master Order #9. This claim did not include block billed

entries, fees not recoverable under Special Master Order #9, or amounts incurred by


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Cori in responding to Plaintiffs’ Phase I discovery request and preparing for and

participating in her own deposition.

      After reviewing each entry in Cori’s claim for fees, including the

reasonableness of the rate and amount charged, the Special Master reduced Cori’s

claim by $11,138.00. On May 21, 2024, the Special Master entered Special Master

Order #10, which awarded Cori her reasonable attorney fees in the amount of

$87,662.00. On May 28, 2024, Plaintiffs filed their objections to Special Master

Orders #9 and #10.

                               LEGAL STANDARD

      Special Masters are governed by Rule 53 of the Federal Rules of Civil

Procedure. A Special Master “may by order impose on a party any noncontempt

sanction provided by Rule 37 or Rule 45.” FED. R. CIV. P. 53(c)(2). In acting on a

Special Master’s order, I “may adopt or affirm, modify, wholly or partly reject or

reverse, or resubmit to the master with instructions. FED R. CIV. P. 53(f)(1).

      Additionally, a party may file objections to a Special Master Order. FED. R.

CIV. P. 53(f)(2). When ruling on objections, the Court must decide de novo findings

of fact and conclusions of law made or recommended by a Special Master. FED. R.

CIV. P. 53(f)(3)-(4); see ECF No. 275 at 3 (stating that reports of the Special Master

will be reviewed by the Court consistent with Fed. R. Civ. P. 53).




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                                   DISCUSSION

      Plaintiffs object to both Special Master Order #9 and Special Master Order

#10. Regarding Order #9, Plaintiffs object to (1) the Special Master’s factual

findings that Plaintiffs “willfully violated the June 9 Discovery Order and Defendant

[Cori] has suffered prejudice,” see ECF No. 311 at 3, and (2) the Special Master’s

legal conclusion awarding Cori attorneys’ fees for “all Phase I discovery and Phase

I dispositive motions.” See id. Regarding Order #10, Plaintiffs object to the Special

Master’s legal conclusion awarding Cori $87,662.00 in attorneys’ fees. See ECF

No. 316 at 2. For the reasons below, Plaintiffs’ objections will be overruled in part

and sustained in part.

      A.     Plaintiffs willfully violated the June 9 Discovery Order.

      Plaintiffs object to the Special Master’s factual finding that they willfully

violated the June 9 Discovery Order. In support of their objection, Plaintiffs note

that they supplemented their discovery responses after the June 9 Discovery Order

and later voluntarily disclosed potential issues with the data set. In response, Cori

states that the dataset used by Plaintiffs for Phase I discovery was subject to search

terms agreed to by parties in different litigation. Cori was not consulted regarding

the search terms.

      Upon de novo review, I find that Plaintiffs willfully violated the June 9

Discovery Order. Judge Ross’s Order granted in part Cori’s motion to compel and


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ordered Plaintiffs to “produce the documents in this case” and “indicate which

documents are responsive to which requests.”          See ECF No. 189 at 5.        In

supplementing their discovery responses pursuant to Judge Ross’s order, Plaintiffs

relied on a dataset that was filtered through search terms relevant to a different

lawsuit to which Plaintiff Phyllis Schlafly Revocable Trust was not a party. By

doing so, Plaintiffs did not produce and refer to the relevant documents in this case.

As a result, Plaintiffs willfully violated the June 9 Discovery Order and Plaintiffs’

objection to the Special Master’s factual conclusion on this point will be overruled.

      B.     Cori was prejudiced by Plaintiffs’ conduct.

      Plaintiffs object to the Special Master’s factual finding that Cori suffered

prejudice because of Plaintiffs’ inadequate discovery responses. In support of their

objection, Plaintiffs argue that the Special Master did not explain how Cori was

prejudiced and that the discovery issues have since been resolved. In response, Cori

argues that her work conducting Phase I discovery and summary judgment motions

was rendered meaningless and that she was “forced to ‘hound’ Plaintiffs for

discovery” that she was entitled to. See ECF No. 319 at 13.

      Upon de novo review, I find that Cori was prejudiced by Plaintiffs’ failure to

comply with the June 9 Discovery Order. After Plaintiffs violated the June 9

Discovery Order, Cori was forced to spend unnecessary time and money to ensure

Plaintiffs full compliance with discovery requests. These efforts included filing


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motions for sanctions and participating in proceedings before the Special Master.

Cf. Schoffstall v. Henderson, 23 F.3d 818, 824 (8th Cir. 2000) (finding prejudice

where the plaintiff’s “actions required the [defendant] to spend its time hounding her

for releases the court had already ordered her to provide”); In re Stauffer Seeds, Inc.,

817 F.2d 47, 50 (8th Cir. 1987) (explaining that “absent the discovery abuses,

[plaintiff] would not have incurred the expense of the sanctions motion . . . and he

would not be fully reimbursed for the extra work caused by the discovery abuse”).

As a result, Cori was prejudiced due to Plaintiffs’ failure to comply with the June 9

Discovery Order, and Plaintiffs’ objection to the Special Master’s factual conclusion

on this point will be overruled. See Coral Group, Inc. v. Shell Oil Co., 286 F.R.D.

426, 436 (W.D. Mo. 2012) (stating that discovery-related prejudice includes

“irretrievable loss of evidence, the inevitable dimming of witnesses’ memories, or

the excessive and possibly irremediable burdens or costs imposed on the opposing

party,” as well as “deprivation of information through non-cooperation with

discovery, and costs expended obtaining court orders to force compliance with

discovery”).

      C.       The award of attorneys’ fees for all Phase I discovery and Phase I
               dispositive motions is not warranted at this time.

      Plaintiffs object to the Special Master’s legal conclusion that Cori is entitled

to attorney fees incurred for all Phase I discovery and Phase I dispositive motions.

In support of their objection, Plaintiffs argue that the award is not warranted because
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it includes fees that would have otherwise been incurred during the normal course

of litigation and fees unrelated to Plaintiffs’ noncompliance with the June 9

Discovery Order. Cori responds that her work on Phase I discovery and Phase I

dispositive motions was rendered meaningless by Plaintiffs’ misconduct.

      Rule 37(b) of the Federal Rules of Civil Procedure authorizes sanctions,

including attorneys’ fees, for failure to comply with discovery orders. Roadway

Express, Inc. v. Piper, 447 U.S. 752, 763 (1980); see FED. R. CIV. P. 37(b)(2)(C).

Such sanctions may include “an award encompassing ‘all expenses, whenever

incurred, that would not have been sustained had the opponent conducted itself

properly.’” Comiskey v. JFTJ Corp., 989 F.2d 1007, 1012 (8th Cir. 1993) (citation

omitted); see also Goodyear Tire & Rubber Co. v. Haeger, 581 U.S. 101, 108 (2017)

(explaining that sanctions, “when imposed pursuant to civil procedures, must be

compensatory rather than punitive”). As a result, Cori “may recover ‘only the

portion of [her] fees that [she] would not have paid but for’ the misconduct.”

Goodyear, 581 U.S. at 109 (quoting Fox v. Vice, 563 U.S. 826, 836 (2011)).

      Upon de novo review, I find that awarding fees incurred for all Phase I

discovery and Phase I dispositive motions is not warranted because such an award

includes fees for work that would have been done regardless of Plaintiffs’ conduct.

As a result, these fees will be subtracted from the Special Master’s award.




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      First, Special Master Order #10 awarded $27,509.00 in fees for preparing for

and taking the Phase I deposition of Plaintiffs’ corporate representative. However,

it is likely that Cori would have taken this deposition even absent Plaintiffs’

misconduct and she did not seek to re-depose him after the violation. Cf. Fox, 536

U.S. at 839 (remanding fee claim when it was “likely that [defendant’s] attorneys

would at least have conducted similar fact-gathering activities—taken many of the

same depositions . . . and so forth”). However, Cori may renew her claim for these

fees if she can establish that Plaintiffs’ misconduct required her to re-open Phase I

topics in a future deposition.

      Second, Special Master Order #10 awarded $36,637.00 in fees for researching

and drafting motions for partial summary judgment on Phase I issues. Cori argues

that Plaintiffs’ failure to comply with the June 9 Discovery Order rendered her work

on Phase I dispositive motions meaningless. But Judge Ross ruled in Cori’s favor

on her motion and Plaintiffs’ cross-motion, and she fails to explain how her work

has been rendered meaningless or why those fees would not have been incurred but

for Plaintiffs’ misconduct. Because these fees do not appear to satisfy the causal

link between Plaintiffs’ misconduct and the legal fees paid by Cori, see Goodyear,

581 U.S. at 108, they will be subtracted from the Special Master’s award without

prejudice. However, if Cori renews her motion for summary judgment on claims for




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which she did not prevail and is successful, then she may renew her claim for fees if

she can show that she would have prevailed originally but for Plaintiffs’ misconduct.

      D.     Cori’s fee request is based on reasonable hours expended and
             reasonable hourly rates.

      Plaintiffs object to the Special Master’s legal conclusion that Cori’s fee

request established the reasonableness of the hours expended and the hourly rates

upon which the fee request is made. Plaintiffs argue that Cori’s fee request fails to

mention or reference a reasonable hourly rate and that block-billed time entries make

it impossible to determine the amount of time spent on any individual task. Cori

responds that the hourly rate is easily determined by the invoices and that the block-

billing has already been addressed.

      Upon de novo review, I find that Cori’s fee request is based on reasonable

hours and rates. The hourly rates charged by Cori’s attorneys are easily determinable

because the invoices included with the fee claim reference the amount of time

worked and the amount charged for that time. See ECF No. 312-1. Additionally,

Special Master Order #10 excluded fees for block-billed entries that prevented the

Special Master from isolating certain amounts that are outside the scope of the fee

award. As a result, Plaintiffs’ objection on this issue will be overruled.

                                  CONCLUSION

      After de novo review of Special Master Order #9 and Order #10, I adopt the

Special Master’s factual findings that Plaintiffs violated the June 9 Discovery Order
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and that their violation prejudiced Cori. I will modify Special Master Order #9 and

Order #10 to exclude $64,146.00 in fees incurred by Cori for (1) the deposition of

John Schlafly ($27,509.00) and (2) Phase I dispositive motions ($36,637.00).

Finally, I will adopt the Special Master’s legal conclusion that Cori’s fee request is

based on reasonable hours expended and reasonable hourly rates.

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ objections to Special Master

Order #9 and Order #10 [317] are OVERRULED in part and SUSTAINED in part.

The Special Master’s factual findings are upheld. The Special Master’s award of

$87,662.00 in attorney fees is modified without prejudice to exclude $64,146.00 in

fees for John Schlafly’s deposition and work related to Phase I dispositive motions.

      IT IS FURTHER ORDERED that Defendant Cori’s motion for discovery

sanctions [257] is GRANTED.

      IT IS FURTHER ORDERED that Defendant Cori’s claim for attorneys’

fees awarded by Special Master Order #9 [312] is GRANTED. Plaintiffs shall

reimburse Cori for attorney fees in the amount of $23,516.00.




                                       RODNEY W. SIPPEL
                                       UNITED STATES DISTRICT JUDGE
Dated this 16th day of April 2025.
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